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 1                           IN THE UNITED STATES DISTRICT COURT

 2                NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

 3

 4    CALIFORNIA COALITION FOR WOMEN                         Case No. 4:23-CV-04155-YGR
      PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.; G.M.;
 5    A.S.; and L.T., individuals on behalf of themselves    [PROPOSED] ORDER GRANTING
      and all others similarly situated,                     ADMINISTRATIVE MOTION TO
 6                                                           CONSIDER WHETHER ANOTHER
                    Plaintiffs,                              PARTY’S MATERIAL SHOULD BE
 7
             v.                                              SEALED REGARDING PORTIONS
 8                                                           OF PLAINTIFFS’ REPLY POST-
      UNITED STATES OF AMERICA FEDERAL                       EVIDENTIARY HEARING BRIEF
 9    BUREAU OF PRISONS, et al.,

10                  Defendants.

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     [Proposed] Order Granting AMFUS re Plaintiffs’ Reply           Case No. 4:23-CV-04155-YGR
      Case 4:23-cv-04155-YGR           Document 178-4         Filed 02/23/24    Page 2 of 2




 1          This matter comes before the Court on Administrative Motion To Consider Whether

 2   Another Party’s Material Should Be Sealed Regarding Portions Of Plaintiffs’ Reply Post-

 3   Evidentiary Hearing Brief and supporting documents (the “Motion”). Having considered the

 4   Motion and supporting declarations as well as the pleadings and materials lodged in this action,

 5   the Court finds good cause and GRANTS the Motion as indicated in the table below.

 6                      Document                                    Portion to be Sealed
      Plaintiffs’ Reply Post-Evidentiary Hearing              6:10-12;
 7    Brief                                                   6:17;
 8                                                            10:12; and
                                                              10:6-11:1.
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11          IT IS SO ORDERED.

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13   Dated: _______________, 2024                  ______________________________________
                                                   The Honorable Yvonne Gonzalez Rogers
14                                                 United States District Judge
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     [Proposed] Order Granting AMFUS re Plaintiffs’ Reply              Case No. 4:23-CV-04155-YGR
